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                      UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF CALIFORNIA



                         ORDER OF REASSIGNMENT


       The Court, having considered the appointment of United States District

Judge John A. Mendez, finds the necessity for reassignment of this action, and for

notice to be given to the affected parties.

       IT IS THEREFORE ORDERED that:

       This action is hereby reassigned to District Judge John A. Mendez, for all further

proceedings. The new case number for this action, which must be used on all future

documents filed with the court, is reflected on the Notice of Electronic Filing

accompanying this order.

       All dates currently set in this reassigned action shall remain pending subject to

further order of the court.



Dated: May 24, 2011




                                              ANTHONY W. ISHII, Chief
                                              United States District Judge
